        Case 1:14-cv-14176-ADB Document 698 Filed 11/18/22 Page 1 of 1




                                                    November 18, 2022
VIA ECF

The Honorable Allison D. Burroughs
United States District Court
District of Massachusetts
One Courthouse Way
Boston, MA 02210

   Re: Students for Fair Admissions, Inc. v. President and Fellows of Harvard College et al.,
       No. 14 Civ. 14176 (ADB)

Dear Judge Burroughs,

I write on behalf of the Reporters Committee for Freedom of the Press (“Reporters Committee”),
which has previously participated in this matter as an amicus curiae. See ECF Nos. 391, 432.
By letter dated November 11, 2022, Professor Jeannie Suk Gersen requested that the Court
unseal the transcripts of all sidebar conferences held during trial in this matter. ECF No. 691.
On November 17, the New York Times submitted to the Court a letter in support of Professor
Gersen’s request. ECF No. 693.

The Reporters Committee concurs with the New York Times’s letter of support and respectfully
urges the Court to unseal the transcripts at issue. To that end, I have noticed an appearance in
this matter and intend to be available to answer the Court’s questions at the hearing now set for
Monday, November 21 at 10:00 A.M., should the Court seek input from counsel for a
representative of the news media.

                                                 Respectfully submitted,

cc: Prof. Jeannie Suk Gersen                     /s/ Robert A. Bertsche
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